      CASE 0:10-cr-00165-DSD-JJK       Doc. 96   Filed 09/10/10   Page 1 of 11




                      UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA


United States of America,
                                                 Crim. No. 10-165 (DSD/JJK)
                    Plaintiff,



v.
                                             REPORT AND RECOMMENDATION
(2) Nathan Daniel Jesh,

                   Defendant.



Charles J. Kovats, Esq., and John R. Marti, Esq., Assistant United States
Attorneys, counsel for Plaintiff.

Lyonel Norris, Esq., counsel for Defendant Jesh.


JEFFREY J. KEYES, United States Magistrate Judge

      This matter is before the Court on Defendant Nathan Daniel Jesh’s

Pretrial Motion to Suppress Evidence (Doc. No. 40), and Pretrial Motion to

Suppress Evidence Obtained as a Result of Search and Seizure (Doc. No. 41).

This Court held a hearing on the motions on September 1, 2010, and received

three exhibits from the Government, including two search warrants and

supporting affidavits at issue, and a receipt for property received, returned or

seized. The matter was referred to the undersigned for Report and

Recommendation pursuant to 28 U.S.C. § 636 and D. Minn. Loc. R. 72.1.
        CASE 0:10-cr-00165-DSD-JJK    Doc. 96   Filed 09/10/10   Page 2 of 11




        For the reasons stated below, this Court recommends that Defendant’s

motions be denied.

                                 BACKGROUND

        Defendant Nathan Daniel Jesh has been charged with one count of

conspiracy to commit mail fraud in violation of 18 U.S.C. § 1371. (Doc. No. 1.)

The Government alleges that Defendant Jesh took part in a conspiracy to

fraudulently obtain loan proceeds by making materially false representations and

promises and withholding material information about the residential property

purchases orchestrated by agents of TJ Waconia LLC and other affiliated entities

(the “TJ Group”). (Id.) The Government also alleges that Defendant Jesh was a

closing agent for Total Title, LLC, a company affiliated with TJ Waconia LLC, and

that he twice directed the repayment for the down payment provided by a

nominal property for purposes of defrauding the lenders to close the transactions.

(Id.)

        The Search Warrants

        On November 13, 2007, Magistrate Judge Susan R. Nelson issued a

warrant to search 3101 Old Highway 8, Roseville, MN 55113, Suites 100, 104,

105, and 203. (Hr’g Ex. No. 1.) On November 15, 2007, Judge Nelson issued a

second warrant to search additional suites of the same premises. (Hr’g Ex.

No. 2.) Both search warrants were issued on the basis of probable cause

contained in the application for search warrant and supporting affidavit of Special

Agent Jennifer L. Khan (“Khan Affidavit”). (Hr’g Ex. Nos. 1 and 2.) The search of

                                         2
      CASE 0:10-cr-00165-DSD-JJK      Doc. 96    Filed 09/10/10   Page 3 of 11




the premises was conducted on November 15, 2010. (Hr’g Ex. No. 3.) During

the course of the search, numerous loan files and mortgage documents, as well

as images of computer drives and other electronic data were seized by the

Government from various suites of the premises. (Id.)

      Based on the above, Defendant Jesh was subsequently indicted on one

count of conspiracy to commit mail fraud.

                                  DISCUSSION

I.    Motions to Suppress Evidence

      Defendant Jesh filed a Pretrial Motion to Suppress Evidence (Doc. No. 40),

and a Pretrial Motion to Suppress Evidence Obtained as a Result of Search and

Seizure (Doc. No. 41). 1 Defendant Jesh’s counsel offered no oral argument and

instead relied on the written submission in support of the motion. The

Government argued that the searches conducted at the offices of the TJ

Waconia businesses at 3101 Old Hwy 8, Roseville, Minnesota were lawful, as

they were based on probable cause as set forth in the warrant application and

supporting affidavit. The Government also argued that Defendant Jesh has no

standing to contest the search. Neither the Defendant nor the Government




1
       The grounds for the latter motion appear to be substantially similar to the
grounds for Defendant’s Motion to Suppress Evidence, and counsel made no
distinction between them at the hearing. Therefore, the Court will analyze both
motions together.

                                         3
      CASE 0:10-cr-00165-DSD-JJK       Doc. 96    Filed 09/10/10   Page 4 of 11




requested post-hearing briefing on these issues. Exhibits were received in

regard to the search and seizure but were not admitted into evidence.

      A.     Defendant Jesh’s Standing to Challenge the Search

      Fourth Amendment rights are personal and cannot be asserted vicariously.

United States v. Pierson, 219 F.3d 803, 806 (8th Cir. 2000). A defendant moving

to suppress evidence must show a legitimate expectation of privacy in the thing

searched. United States v. Gomez, 16 F.3d 254, 256 (8th Cir. 1994). A

defendant who “fails to prove a sufficiently close connection to the relevant

places or objects searched . . . has no standing to claim that they were searched

or seized illegally.” Id. A defendant seeking suppression has the burden of

establishing a reasonable expectation of privacy, which the Court assesses by

evaluating such factors as ownership, possession, and use of and ability to

control the place searched or the item seized. Pierson, 219 F.3d at 806. If the

Court finds facts supporting both sides such that it is not “well positioned” to

determine if a party has a reasonable expectation of privacy, it can examine

instead the validity of the search. See United States v. Kuenstler, 325 F.3d

1015, 1021 (8th Cir. 2003).

      Here, with respect to the warrants for the search of the premises of TJ

Waconia and other entities at 3101 Old Highway 8, Roseville, Minnesota,

Defendant Jesh has not articulated, much less established, any cogent basis for

an actual, subjective expectation of privacy in those premises. According to the

Government’s representations, at the time of the search, Defendant Jesh was an

                                          4
      CASE 0:10-cr-00165-DSD-JJK       Doc. 96    Filed 09/10/10   Page 5 of 11




employee of Total Title. (Doc. No. 86, Gov’t.’s Resp. to Def.’s Pretrial Mots.

(“Gov’t.’s Resp.”) 5.) The Khan Affidavit states that Total Title, located in

Brooklyn Park, has been the title closer for numerous property purchases

arranged by the principals of TJ Waconia—Thomas Balko and Jonathan

Helgason. (Hr’g Ex. No. 1.) The Affidavit further states that Total Title was

owned by Helgason and Balko and two other parties. (Id.) Finally, the Khan

Affidavit indicates, based on the information received from a cooperating witness

(“CW”), that Total Title had closed its doors and that all of the files had been

removed by an employee of the company and that its office space was vacant.

(Id.) The Government represents that the premises of Total Title were never

searched. (Gov’t.’s Resp. 5.)

      While the Khan Affidavit makes clear that there is plainly a connection

between TJ Waconia, Total Title, and numerous other entities, Defendant has not

made a sufficient showing of a possessory or proprietary interest in the area

searched, or demonstrated a sufficient nexus between the area searched and his

own work place. For example, Defendant has not proffered any evidence that

(1) he had a key to the searched office spaces; (2) he worked in those offices

with regularity; (3) he had stored any of his personal effects there, apart from

certain business-related records reflecting his name; or (4) he had attempted to

restrict others from accessing the materials that were located at TJ Waconia and

the related entities. See United States v. Wiley, 847 F.2d 480, 481 (8th Cir.

1988) (stating that absence of evidence that defendant had key to third party's

                                          5
      CASE 0:10-cr-00165-DSD-JJK       Doc. 96    Filed 09/10/10   Page 6 of 11




premises, had permission to enter in the owner's absence, had personal effects

stored there, or had received his mail at that address, militated in favor of a

finding of no legitimate expectation of privacy); see also United States v. Judd,

889 F.2d 1410, 1413 (5th Cir.1989), cert. denied sub nom. Poodry v. United

States, 494 U.S. 1036 (1990) (holding no standing where the corporate officials

challenging search warrant “did not work out of that office,” even though the

corporate President had prepared some records that had been seized); U.S. v.

Najarian, 915 F. Supp. 1441, 1453-54 (D. Minn. 1995) (stating that standing

existed only where partner took substantial steps to secure records from official

and unofficial review). Accordingly, this Court concludes that Defendant Jesh

lacks legal standing to challenge the lawfulness of the searches.

       B.    Probable Cause for the November 2007 Search Warrants

      Nonetheless, even assuming Defendant Jesh had standing to challenge

the validity of the searches, this Court concludes that the searches here were

supported by probable cause, as set forth in the warrant applications and the

underlying affidavits. Probable cause exists when, given the totality of the

circumstances, a reasonable person could believe there is a fair probability that

contraband or evidence of a crime would be found in a particular place.” United

States v. Fladten, 230 F.3d 1083, 1085 (8th Cir. 2000) (citing Illinois v. Gates,

462 U.S. 213, 236 (1983)). When determining whether probable cause exists, a

court does not independently evaluate each piece of information, but, rather,

considers all of the facts for their cumulative meaning. United States v. Allen,

                                          6
      CASE 0:10-cr-00165-DSD-JJK         Doc. 96     Filed 09/10/10    Page 7 of 11




297 F.3d 790, 794 (8th Cir. 2002). The task of a court issuing a search warrant

is “simply to make a practical, common-sense decision whether, given all the

circumstances set forth in the affidavit . . ., there is a fair probability that

contraband or evidence of a crime will be found in a particular place.” Gates, 462

U.S. at 238; see also United States v. Salter, 358 F.3d 1080, 1084 (8th Cir.

2004). Courts should not review search warrants in a hyper-technical fashion.

United States v. Caswell, 436 F.3d 894, 897 (8th Cir. 2006).

       In reviewing the decision of the issuing court, this Court must ensure that

the court “‘had a substantial basis for . . . conclud[ing] that probable cause

exists.’” United States v. Oropesa, 316 F.3d 762, 766 (8th Cir. 2003) (quoting

Gates, 462 U.S. at 238-39). Because reasonable minds may differ on whether a

particular search-warrant affidavit establishes probable cause, the issuing court’s

determination is accorded great deference. United States v. Wajda, 810 F.2d

754, 760 (8th Cir. 1987) (citing United States v. Leon, 468 U.S. 897, 914 (1984)).

       Defendant Jesh has not articulated any reason for his boilerplate allegation

that any search warrant issued in this case was issued without a sufficient

showing of probable cause in the supporting affidavit. (Doc. No. 40, Def.’s

Pretrial Mot. to Suppress Evid. (“Def.’s Mot.”) 1.) Nor has Defendant provided

any evidence that the Kahn Affidavits did not support a finding of probable cause

for the issuance of the search warrants, or that the warrants issued based on her

Affidavits were overbroad and lacked specificity as to the items to be seized.

Applying a practical, common sense reading to Kahn’s Affidavits, this Court finds

                                             7
      CASE 0:10-cr-00165-DSD-JJK      Doc. 96    Filed 09/10/10   Page 8 of 11




sufficient probable cause to believe that a search of the records and other

materials in the various suites on these premises would uncover the evidence of

a crime.

      The Khan Affidavit, dated November 13, 2007, which is 11 pages in length,

describes the affiant’s basis for believing that TJ Waconia is involved in a

mortgage-fraud scheme. (Hr’g Ex. Nos. 1.) For example, the Affidavit

describes the information obtained by Khan through three cooperating witness

interviews, her own review of documents relating to TJ Waconia and its

principals, and surveillance of the subject property. (Id.) Based on the facts set

forth in the affidavit, including witness interviews, Khan concluded that “Thomas

Balko and Jonathan Helgason as principals of TJ Waconia (and variations of this

name), Total Title, Citywide Management, Investors Warehouse, and Complete

Real Estate submitted false and fraudulent documents to banks and mortgage

lending institutions,” that these false and fraudulent documents were created

using computers, and that the subject property contained such computers. (Id.)

Based on her experience and training as a Special Agent, Kahn further explained

that computer hardware, peripheral devices, software, electronic files,

documentation and passwords are integral to the functioning of businesses like

TJ Waconia and the others; that computer hardware, peripheral devices,

software, electronic files, documentation and passwords themselves may be the

instrumentalities, fruits, or evidence of crime, and also maybe the objects used to

collect and store information about crimes (in the form of electronic data); and

                                         8
      CASE 0:10-cr-00165-DSD-JJK       Doc. 96    Filed 09/10/10   Page 9 of 11




that computer storage devices must be seized so that they can be searched by a

qualified computer expert in a laboratory or other controlled environment. (Id.)

      Given the comprehensiveness of the Affidavit's factual recitations, a

“reasonable person” could not reach a contrary finding. Accordingly, we

conclude that the search warrants here were issued upon a compellingly cogent

showing of probable cause.

        C. Leon Good-faith Exception

      Even if probable cause did not exist, there was a facially valid warrant, and

therefore the good-faith exception to the exclusionary rule, established in United

States v. Leon, 468 U.S. 897 (1984), would have to be considered. “Under the

good-faith exception, evidence seized pursuant to a search warrant that lacked

probable cause is admissible if the executing officer’s good-faith reliance on the

warrant is objectively reasonable.” United States v. Perry, 531 F.3d 662, 665

(8th Cir. 2008). “The good-faith inquiry is confined to the objectively

ascertainable question whether a reasonably well trained officer would have

known that the search was illegal despite the [issuing judge’s] authorization.”

United States v. Proell, 485 F.3d 427, 430 (8th Cir. 2007) (alteration in original)

(quotations omitted). “When assessing the objective [reasonableness] of police

officers executing a warrant, [the Court] must look to the totality of the

circumstances, including any information known to the officers but not presented

to the issuing judge.” Id. at 431 (alteration in original) (quotations omitted). Here,

this Court concludes that the good-faith exception would apply. There is no

                                          9
     CASE 0:10-cr-00165-DSD-JJK       Doc. 96    Filed 09/10/10   Page 10 of 11




evidence to suggest that the officers’ reliance on the warrants was not in good

faith, nor is there evidence that the officers’ reliance was not reasonable. For

these reasons, this Court concludes that the evidence seized as a result of the

execution of the search warrants need not be suppressed. Therefore, this Court

recommends that Defendant’s Pretrial Motion to Suppress Evidence (Doc. No.

37), and Pretrial Motion to Suppress Evidence Obtained as a Result of Search

and Seizure (Doc. No. 39), be denied.

                              RECOMMENDATION

      IT IS HEREBY RECOMMENDED that:

      1.    Defendant’s Pretrial Motion to Suppress Evidence (Doc. No. 40), be

DENIED; and

      2.    Defendant’s Pretrial Motion to Suppress Evidence Obtained as a

Result of Search and Seizure (Doc. No. 41), be DENIED.



Date: September 10, 2010

                                                s/Jeffrey J. Keyes

                                              JEFFREY J. KEYES
                                              United States Magistrate Judge




Under D. Minn. LR 72.2(b), any party may object to this Report and
Recommendation by filing with the Clerk of Court, and serving all parties by
September 24, 2010, a writing which specifically identifies those portions of this
Report to which objections are made and the basis of those objections. Failure
to comply with this procedure may operate as a forfeiture of the objecting party’s

                                         10
     CASE 0:10-cr-00165-DSD-JJK        Doc. 96   Filed 09/10/10   Page 11 of 11




right to seek review in the Court of Appeals. A party may respond to the
objecting party’s brief within 14 days after service thereof. All briefs filed under
this rule shall be limited to 3500 words. A judge shall make a de novo
determination of those portions of the Report to which objection is made. This
Report and Recommendation does not constitute an order or judgment of the
District Court, and it is therefore not appealable directly to the Circuit Court of
Appeals.

Unless the parties stipulate that the District Court is not required by 28 U.S.C.
§ 636 to review a transcript of the hearing in order to resolve all objections made
to this Report and Recommendation, the party making the objections shall timely
order and file a complete transcript of the hearing within ten days of receipt of the
Report.




                                          11
